   Case 2:12-cr-00104-MHT-TFM Document 508 Filed 09/23/14 Page 1 of 2




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:12cr104-MHT
STEVEN P. MOCK                     )       (WO)

                                ORDER

    Based on the representations made on the record on

September 22, 2014, it is ORDERED that the motion to

permit the court’s expert to engage an additional expert

(doc. no. 503) is granted as follows:

    (1)   Dr.   Thomas     Jeffrey     Boll   is   appointed     as     an

additional expert to assist Dr. Barbara Long.

    (2) Dr. Boll will examine the underlying data from

Dr. Felicia Goldstein and Dr. Kristine Lokken.

    (3) If Dr. Boll believes it necessary, Dr. Boll may

conduct the same tests as Dr. Goldstein and Dr. Lokken

did and/or may conduct different testing. However, Dr.

Boll must provide a written explanation of why he needed
   Case 2:12-cr-00104-MHT-TFM Document 508 Filed 09/23/14 Page 2 of 2




testing in addition to the underlying data provided by

Dr. Goldstein and Dr. Lokken.

    (4) The United States Attorney’s Office will pay Dr.

Boll’s reasonable fees and expenses in accordance with

the court’s previous order (doc. no. 493).

    DONE, this the 23rd day of September, 2014.


                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
